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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                                 Miami Division

                                   Case No.: 08-14046-CIV-MOORE/LYNCH

  ARI BEN-YISHAY, M.D., individually
  and BARBARA BEN-YISHAY, individually

                     Plaintiffs,

  v.

  MASTERCRAFT DEVELOPMENT, LLC,
  a Florida limited liability company, MASTERCRAFT
  SERVICES, INC., a Florida corporation,
  WATERLINE DEVELOPMENT, LLC,
  a Florida limited liability company, PERRY LAP,
  individually, JOSEPH D. GROSSO, JR., P.A.,
  JOSEPH D. GROSSO, JR., individually, KEVIN
  B. NEWFIELD, D.O., individually, KAREN LISA
  NEWFIELD, individually, and NEWFIELD HOLDINGS,
  LLC, a Florida limited liability company.

              Defendants.
  _______________________________________________/

           MOTION FOR ENTRY OF DEFAULT AND FINAL DEFAULT JUDGMENT
             AGAINST DEFENDANTS, MASTERCRAFT DEVELOPMENT, LLC
                        AND MASTERCRAFT SERVICES, INC.

            Plaintiffs, ARI BEN-YISHAY, M.D. (“DR. BEN-YISHAY”) and BARBARA BEN-

  YISHAY (“BEN-YISHAY”)(collectively “Plaintiffs”), by and through their undersigned

  counsel, hereby file this Motion for Entry of Default and Final Default Judgment Against

  Defendants,         MASTERCRAFT               DEVELOPMENT,               LLC       (“MASTERCRAFT”)                and

  MASTERCRAFT SERVICES, INC. (“MASTERCRAT SERVICES”), and in support thereof,

  state as follows:



  {KALEXAND/216766.0001/N0778389_1}

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          1.       On February 5, 2008, the BEN-YISHAYS filed a multi-count Complaint against

                   Defendants, MASTERCRAFT DEVELOPMENT, LLC (“MASTERCRAFT”),

                   MASTERCRAFT              SERVICES,         INC.,      (“MASTERCRAFT              SERVICES”),

                   WATERLINE DEVELOPMENT, LLC (“WATERLINE”), PERRY LAP

                   (“LAP”), JOSEPH D. GROSSO, JR., P.A. (“GROSSO, P.A.”) AND JOSEPH D.

                   GROSSO, JR. (“GROSSO”) for various claims. [DE 1]

          2.       On April 21, 2008, the Court issued an Order compelling the claims filed against

                   Defendants, MASTERCRAFT and MASTERCRAFT SERVICES to arbitration.

          3.       Pursuant to the Court’s April 21, 2008 Order, on or about June 12, 2008, the

                   BEN-YISHAYS filed a Demand for Arbitration and a Nature of Dispute with the

                   American Arbitration Association (“AAA”) seeking arbitration resolution of the

                   claims set forth against MASTERCRAFT and MASTERCRAFT SERVICES.

          4.       On or about July 18, 2008, MASTERCRAFT SERVICES filed a response to the

                   Nature of Dispute.           Counsel for MASTERCRAFT, who also represents

                   MASTERCRAFT SERVICES, advised AAA that MASTERCRAFT would not be

                   responding nor participating in the arbitration.

          5.       Subsequently, the BEN-YISHAYS amended the Nature of Dispute on September

                   15, 2008 to include additional claims against MASTERCRAFT and

                   MASTERCRAFT SERVICES for Violation of 15 U.S.C. §1703(a)(1)(A) and (B)

                   of the Interstate Land Sales Full Disclosure Act and for fraudulent transfer

                   pursuant to §726.105(1)(a), Florida Statutes.               Neither MASTERCRAFT nor


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                   MASTERCRAFT SERVICES filed a response to the Amended Nature of

                   Dispute.

          6.       On November 6, 2008, the BEN-YISHAYS filed a Second Amended Nature of

                   Dispute to include claims against third parties for conspiracy to commit fraud and

                   for fraudulent transfer pursuant to §726.105(1)(a), Florida Statutes, which was

                   subsequently amended on February 20, 2009 to plead fraud with specificity

                   pursuant to an Order by the arbitrator.                     Again, MASTERCRAFT and

                   MASTERCRAFT SERVICES failed to file and serve a response.

          7.       In addition, MASTERCRAFT and MASTERCRAFT SERVICES failed to adhere

                   to the rules of the AAA. Specifically, pursuant to the rules of the AAA, the BEN-

                   YISHAYS, MASTERCRAFT, MASTERCRAFT SERVICES and NEWFIELDS

                   were required to each pay $3,600.00 towards the “Neutral Compensation Deposit”

                   (arbitrator fees), for a total of $14,400.00. Each party was required to pay their

                   portion of the deposit.

          8.       However, MASTERCRAFT and MASTERCRAFT SERVICES failed to pay their

                   pro rate portion of the deposit, and as a result thereof, on July 22, 2009 the

                   arbitrator issued an order terminating the arbitration proceedings. [DE 56]

          9.       MASTERCRAFT and MASTERCRAFT SERVICES unjustifiably disobeyed the

                   Court’s April 21, 2008 Order and the AAA’s rules, and as a result of their actions,

                   the BEN-YISHAYS seek the entry of default and a default final judgment against

                   MASTERCRAFT and MASTERCRAFT SERVICES for failing to participate in

                   the arbitration, in which they compelled, in accordance with the Court’s April 21,
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                   2008 Order and with rules of the AAA. See Wahl v. McIver, 773 F.2d 1169, 1174

                   (11th Cir. 1985) (District court has authority to enter a default judgment for

                   failure to comply with its orders or rules of procedures); Gulf Coast Fans, Inc. v.

                   Midwest Electronics Importers, 740 F.2d 1499, 1512 (11th Cir. 1984) (“Failure to

                   appear at duly scheduled trial after months of preparation by parties and by trial

                   court is serious offense for which entry of default is appropriate.”); McGrady v.

                   D’Andrea Electronics, Inc., 434 F.3d 1000, 1001 (5th Cir 1970) (Court record

                   provided sufficient evidence of defendant’s delay in failing to comply with the

                   court rules to justify entry of default judgment.); Wilson v. Pyle, 851 So.2d 779,

                   780 (2d DCA 2003) (“The purpose of a default judgment is to speed the litigation

                   to conclusion and to prevent a dilatory defendant from impeding the plaintiff's

                   claim. Nonetheless, all doubt should be resolved in favor of allowing trial upon

                   the merits”).

          10.      Counsel for MASTERCRAFT and MASTERCRAFT DEVELOPMENT has no

                   objection to the entry of a default or a final default judgment against the

                   Defendants. See [DE 58]

          WHEREFORE, the BEN-YISHAYS respectfully request the entry of default and a final

  default judgment against Defendants, MASTERCRAFT and MASTERCRAFT SERVICES in

  the amount of $995,000.00, plus pre-judgment and post-judgment interest, for the Court to

  reserve jurisdiction to award attorneys’ fees and costs to the BEN-YISHAYS, and grant such

  other and further relief as this Court deems just and proper.


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                                                      Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

          I hereby certify that on August 13, 2009 I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing documents is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notice of Electronic Filing.


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